Case 2:04-cV-02605-.]DB-tmp Document 11 Filed 05/24/05 Page 1 of 2 Page|D 16

 

 

IN THE UNITED sTATEs DISTRICT coURT F*F-ED 553 § \ i:a¢.';.
FoR THE wEsTERN DISTRICT oF TENNESSEE `_?E w v
wEsTERN DIVISION "~s"=":::r ZL,, _;v;;»; 32 m
\ L..
JAMES ADAMS,
Plaintiff,

vs. Civ. No. 04-2605-B[P
PATRICIA GALLOWAY, et al.,

Defendants.

 

ORDER GRANTING DEFENDANTS' MOTION FOR ENLARGEMENT OF TIME

 

Before the court is defendants' Motion for Enlargement of
Time, filed May 23, 2005 (Dkt; #10). P'or good cause Shown,
defendante’ motion for enlargement of time is GRANTED. Defendante
Patricia Galloway, Michael Ottinger, Donal Campbell and
Bruce Weetbrooks (in his official capacity only) ehall have up to
and including June 8, 2005, to respond to the complaint.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magietrate Judge

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Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02605 Was distributed by faX, mail, or direct printing on
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J ames Adams

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Honorable J. Breen
US DISTRICT COURT

